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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                 )
SOVERAIN SOFTWARE LLC,
                                                 )
        Plaintiff,                               )
                                                 )
        v.                                       )       Case No. 6:07-CV-00511-LED
                                                 )
CDW CORPORATION,                                 )       JURY TRIAL DEMANDED
NEWEGG INC.,                                     )
REDCATS USA, INC.                                )
SYSTEMAX INC.,                                   )
ZAPPOS.COM, INC.,                                )
REDCATS USA, L.P.,                               )
THE SPORTSMAN’S GUIDE, INC.,                     )
AND                                              )
TIGERDIRECT, INC.,                               )
                                                 )
        Defendants.                              )


             JOINT MOTION FOR LEAVE TO FILE AMENDED P.R. 4-3 CLAIM
                  CONSTRUCTIONS AND PREHEARING STATEMENT

        In response to the Court’s March 17, 2009 Order (Dkt. No. 189), concerning the number

of claim terms in dispute, the parties respectfully request that the Court grant leave to file the

attached Amended P.R. 4-3 Joint Claim Construction and Prehearing Statement and attachments

(collectively, the “Amended P.R. 4-3 submissions”), in which the number of disputed terms have

been reduced from 30 to 14.

        As part of their effort to address the concerns expressed in the Court’s March 17 Order,

the parties have reached agreement on or eliminated a number of disputed terms. The parties

also have stipulated (subject to the Court’s approval) that except where expressly disputed in the

attached Amended P.R. 4-3 submissions, the Court’s claim constructions in Soverain Software

LLC v. Amazon.com, Inc., 6:04-cv-14 (the “Amazon Markman Order,” attached as Appendix 1)




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will apply in the present case. In particular, subject to the above condition, claim terms for U.S.

Pat. Nos. 5,715,314 and 5,909,492 asserted in the present case will have the same meaning as

construed in the Amazon Markman Order, and the claim terms common to U.S. Pat. No.

5,708,780 (asserted in Civil Action 6:04-cv-14) and its continuation U.S. Pat. No. 7,272,639

(asserted in the present case) will have the same meaning as construed in the Amazon Markman

Order.

         In addition, the parties have stipulated that Defendants Newegg Inc., Systemax Inc, and

TigerDirect, Inc. will preserve their right to appeal such claim constructions adopted from the

Amazon Markman Order where expressly indicated in Exhibit A in the Amended P.R. 4-3

submissions. Any appeal from such claim constructions is to be limited to the record in Soverain

Software LLC v. Amazon.com, Inc., 6:04-cv-14, in particular: the respective P.R. 4-3

submissions, the parties’ claim construction briefs, the Markman hearing transcript, and the

Amazon Markman Order.




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Dated: March 23, 2009                 Respectfully submitted,



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                                CERTIFICATE OF SERVICE

      This is to certify that on March 23, 2009 a true and correct copy of the foregoing
document has been served on all counsel of record via the Court’s ECF system.



                                              /s/ Ognian V. Shentov
                                              Ognian V. Shentov




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